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LIW/MIM: USAQO2016R00493

IN THE UNITED STATES DISTRICT COURT;

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FOR THE DISTRICT OF MARYLAND

 

 

UNITED STATES OF AMERICA

v.
KENNETH WENDELL RAVENELL,
JOSHUA REINHARDT TREEM, and
SEAN FRANCIS GORDON,

Defendants.

 

 

CRIMINAL NO. LO-19-0449

(RICO Conspiracy, 18 U.S.C. § 1962(d);
Money Laundering Conspiracy, 18 U.S.C.
§ 1956(h); Narcotics Conspiracy, 21 U.S.C.
§ 846; Conspiracy to Commit Offenses
Against the United States, 18 U.S.C. § 371;
Obstructing an Official Proceeding, 18
U.S.C. § 1512(c)(2); Falsification of
Record, 18 U.S.C. § 1519; Aiding and
Abetting, 18 U.S.C. § 2; Forfeiture, 21
U.S.C. § 853, 18 U.S.C. § 982(a)(1), 18
U.S.C. § 1963, and 28 U.S.C. § 2461(c))

 

SUPERSEDING INDICTMENT

COUNT ONE

(RICO Conspiracy)

The Grand Jury for the District of Maryland charges that at all times relevant to this

Superseding Indictment:

THE DEFENDANT

l. The Defendant, KENNETH WENDELL RAVENELL, was a lawyer admitted to

the Bar of Maryland in 1985.

THE ENTERPRISE

2. “The Law Firm” was a close corporation formed under the laws of the State of

Maryland.

a. The Law Firm operated principally in Baltimore, Maryland.

 
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b. The Law Firm constituted an “enterprise,” as defined in Title 18, United

States Code, Section 1961(4).

 

c. The Law Firm engaged in, and its activities affected, interstate and foreign
commerce.

d. RAVENELL joined The Law Firm in or about 2007.

ec: In August 2014, federal law enforcement executed a search warrant at The
Law Firm.

Ai In September 2014, RAVENELL separated from The Law Firm.

RELEVANT PERSONS AND ENTITIES
a R.B., along with others, operated a multi-state illegal narcotics trafficking

organization and was an associate of RAVENELL at all times relevant to this Superseding
Indictment.

a. R.B. formally became a client of RAVENELL at The Law Firm in or about
February 2011.

b. In April 2014, a federal grand jury sitting in Baltimore indicted R.B. and
two others on a charge of conspiracy to distribute marijuana and cocaine.

c. RAVENELL ceased to represent R.B. in October 2014.

4. L.H. operated a multi-state illegal narcotics trafficking organization and was an

associate or client of RAVENELL at The Law Firm in 2013 and 2014.

a. In April 2013, L.H. was charged in a federal criminal complaint with

conspiracy to distribute marijuana and arrested.
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b. L.H. formally became a client of RAWVENELL at The Law Firm in or about
June 2013.
é. RAVENELL formally withdrew from his representation of L.H. on
November 13, 2014.
d. A.B. was an associate of L.H.
S S.G. was a private investigator hired by RAVENELL to work on both the R.B. and

L.H. matters.

LAWFUL PURPOSES OF THE ENTERPRISE
6. The Law Firm was formed for the following legitimate and lawful purposes, among
others: engaging in the practice of law, providing legal services deemed proper and valid, and
carrying on any lawful business in connection with the practice of law and the provision of legal

services,

UNLAWFUL PURPOSES OF THE DEFENDANT
7. The purposes of RAVENELL included violating the legitimate purposes of The
Law Firm in order to enrich himself and Individual | through illegal conduct that was apart from
any lawful legal services RAVENELL was providing to clients. RAWENELL and Individual |
received monies, including the proceeds of narcotics trafficking, from individuals involved in the
trafficking of narcotics and their associates in exchange for RAVENELL committing and

promising to commit the following criminal acts:
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a. Providing information and instructions to members of the conspiracy on
how to evade law enforcement in order to continue narcotics trafficking that RAWENELL had
learned through his work at The Law Firm;

b. Laundering money that had been generated from narcotics trafficking by
members of the conspiracy through The Law Firm; and

c. Abusing his position as a member of the Bar of Maryland and The Law

Firm to obstruct justice in order to protect members of the conspiracy.

THE CHARGE
8. Beginning at least by August 31, 2009, and continuing through in or about
September 2014, in the District of Maryland and elsewhere, the defendant,
KENNETH WENDELL RAVENELL,

being a person employed by and associated with The Law Firm, an enterprise, which engaged in,
and the activities of which affected, interstate and foreign commerce, together with co-conspirators
R.B., J.B., J.C., D.W., L.H., J.B., H.B., Ra.B., D.M., M.L., A.B., D.L., N.S., A.G., K.R., S.G., and
other persons known and unknown to the Grand Jury, did knowingly, intentionally, and unlawfully
combine, conspire, confederate and agree to violate Section 1962(c) of Title 18, United States
Code, that is, to conduct and participate, directly and indirectly, in the conduct of the enterprise’s
affairs through a pattern of racketeering activity, consisting of multiple acts indictable under:

a. 18U.S.C. § 1512 (relating to tampering with a witness, victim, or an informant);

b. 18 U.S.C. § 1956 (relating to the laundering of monetary instruments):

c. 18 U.S.C. § 1957 (engaging in monetary transactions in property derived from

specified unlawful activity);
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and multiple offenses involving narcotics trafficking in violation of:
d. 21 U.S.C. § 841(a) (possession with intent to distribute and distribution of
controlled dangerous substances); and
e. 21 U.S.C. § 846 (conspiracy to possess with intent to distribute and distribute

controlled dangerous substances).

MEANS AND METHODS OF THE CONSPIRACY

Among the means and methods by which members of the conspiracy pursued their illegal
purposes were the following:

Facilitating Drug Trafficking Activities

9. RAVENELL assisted and protected co-conspirators in their narcotics trafficking
by providing information and instructions to co-conspirators that he obtained while employed by
The Law Firm so that co-conspirators could evade law enforcement when they trafficked in
narcotics.

10. RAVENELL served as an intermediary between arrested members of the
conspiracy and members of the conspiracy who were not yet arrested in order to facilitate the
unlawful activities of his co-conspirators, including conveying information from arrested members
about monies owed on the street from narcotics sales and the collection and retention of other

assets of the co-conspirators.
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Money Laundering

11. RAVENELL received substantial cash payments derived from drug sales as
compensation for laundering money and for protection he provided to his co-conspirators.

12. RAVENELL concealed these payments by routinely failing to create receipts or
documentation of the payments he received.

13, RAVENELL instructed members of the conspiracy to create and become involved
in businesses that could be used to launder money.

14. RAVENELL directed members of the conspiracy to use businesses and other
entities and individuals to send the proceeds of narcotics transactions to The Law Firm, using wire
transfers, checks, credit card payments, PayPal and other means. RAVENELL in turn used these
funds to pay for the legal fees he charged, thus enriching himself, and to make various payments
on R.B.’s behalf to third parties to promote the distribution of narcotics and conceal funds that
were derived from narcotics proceeds

15. Between 2011 and 2014, The Law Firm documented receipt of a total of
$1,908,375.91 in payments related to four separate R.B.-related matters, each having separate
accounting files and ledgers at the firm. According to The Law Firm’s records, none of the
payments came directly from R.B. and all of the money that The Law Firm recorded it received
came from third-party payors, including other individuals involved in the sale of narcotics and
entities and individuals that were used by R.B. to launder money, and credit cards belonging to

associates of R.B. They were accounted for by The Law Firm as follows:

 

 

 

 

 

 

 

The Law Firm File Names Deposits

[R.B.] Criminal Matter (712-001) $1,236,766.34
[R.B.] Business Ventures Matter (712-003) $300,409.57
[R.B.] Hotel Project Matter (712-004) $170,600.00
[R.B.] Overtown Reborn Matter (712-006) $200,600.00
Total $1,908,375.91

 

 

 

 
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a. R.B. Criminal Matter. According to The Law Firm’s records,
$1,236,766.34 was received by The Law Firm in multiple transactions over a number of years that
was credited to R.B. “Criminal Matter.” According to The Law Firm’s records, the $1,236,766.34
was disbursed in the following manner:

i. Only $534,333 was retained by The Law Firm as legal fees;

ii. $464,786.70 went, in the form of checks and wires, to lawyers and law
firms that would not accept drug proceeds from drug dealers, and for
related services, to benefit R.B.;

iii. $215,100 went to other third parties, that were not labeled as lawyers and
law firms, for the benefit of R.B.; and

iv. $17,000 was transferred to R.B. “Business Ventures.”

b. R.B. Business Ventures. According to The Law Firm’s records,
$300,409.57 was credited to the R.B. “Business Ventures Matter” and the following amounts were
disbursed:

i. Only $98,329.49 was retained by The Law Firm as legal fees; and

ii. $197,944 passed through The Law Firm bank accounts to other R.B.-
related entities and business endeavors and to third parties for R.B.’s
benefit.

c. R.B. Hotel Matter. According to The Law Firm’s records, of the $170,600
that was entered in the R.B. “Hotel Matter,” the entire sum was disbursed by The Law Firm for
R.B.-related investments, and The Law Firm did not keep any funds as legal fees. In addition,

$90.600 was transferred to the Overtown Reborn Matter account.
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d. Overtown Reborn Matter. According to The Law Firm’s records, of the
$200,600 that was credited in the Overtown Reborn matter, the 200,000 passed through The Law
Firm to entities controlled by or associated with R.B. The Law Firm did not keep any legal fees

from these funds.

Obstructing Justice

16. RAVENELL abused his position as a member of the Bar of Maryland and as a
lawyer with The Law Firm to protect co-conspirators and obstruct official proceedings, including,
for example, by doing the following:

a. RAVENELL lied to members of law enforcement in order to protect
members of the conspiracy.

b. RAVENELL obtained access to incarcerated individuals, whom he did not
represent, and dispatched private investigators, including S.G., to interview incarcerated
individuals and civilian witnesses, so that RAVENELL and others at his direction could attempt
to improperly influence their testimony, attempt to cause them to execute false affidavits and
witness statements which RAVENELL knew to be false, and attempt to cause witnesses to
withhold testimony from official proceedings, namely, a federal grand jury investigation of R.B.

and later criminal case against R.B. in the United States District Court for the District of Maryland.

OVERT ACTS
In furtherance of the conspiracy, RAVENELL and other members of the conspiracy

committed the following overt acts, among others, in the District of Maryland and elsewhere:
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17. On August 31, 2009, J.C. gave N.S. a large sum of narcotics proceeds, in cash, ina
suitcase to transport from BWI to California, through Salt Lake City, Utah. Law enforcement
seized the suitcase at BWI and discovered $85,000 in cash inside of it. N.S.’s name was called
over the intercom in the boarding area. N.S. left BWI in a panic and called a member of the
conspiracy who instructed her to call RAVENELL. N.S. then called and met with RAVENELL
and told him that her luggage had been seized and had a large sum of cash in it. RAVENELL
called the law enforcement officer who had seized N.S.’s luggage and lied to him about the
circumstances surrounding the suitcase. Specifically, RAWENELL told the officer that he had no
idea why N.S.’s luggage had been seized, that it was “just luggage” or words to that effect, and
that N.S. had become ill at the airport and thought that she could send her luggage to California
and have someone pick it up.

18. On February 2, 2011, based on RAVENELL’s instructions, an account was opened
for R.B. in the fictitious name of “Robert Smith” with an account number ending in 6606

19. Also on February 11, 2011, a counter deposit in the amount of $8,000 was made in
the “Robert Smith” account ending in account number 6606.

20. On February 23, 2011, RAVENELL deposited a check in the amount of $8,000
and made payable to “Kenneth Ravenel” [sic.] drawn on the “Robert Smith” account ending in
account number 6606 into an account controlled by RAVENELL and not an account controlled
by The Law Firm.

Z1.. On or about September 12, 2011, during a meeting with R.B. in Arizona,
RAVENELL conducted counter-surveillance in the parking lot of the restaurant where they were

meeting. R.B. had just given RAVENELL several thousand dollars in narcotics proceeds, which
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was stored at the hotel where RAVENELL and R.B. were staying, and RAVENELL did not want
to lead law enforcement back to the hotel.

22. In late 2011, RAVENELL went to dinner at a restaurant with R.B., H.B. and J.C.
After dinner, the four men went into the parking lot of the restaurant. J.C. took a Louis Vuitton
shoe bag out of the trunk of the car that he and H.B. had driven to the restaurant. J.C. then gave

the bag to RAVENELL. It contained $50,000 in cash from narcotics sales.

J.C. Met with RAVENELL on Multiple Occasions to Deliver Narcotics Proceeds
23. J.C. met with RAVENELL on numerous occasions to deliver narcotics proceeds,
in cash, to him. J.C. did this before RAVENELL represented J.C. in any criminal matter.
RAVENELL and J.C. communicated via text message in order to meet. For example,

a. On December 23, 2012, at 8:06 p.m., J.C. texted RAVENELL, “here,” to
indicate he was at a location where the two had arranged to meet so that J.C. could give
RAVENELL narcotics proceeds. Three minutes later, RAWENELL texted J.C. in response, “Ok.
2 mins,” indicating RAVENELL was two minutes away from their agreed upon location.

b. On January 23, 2013, at 8:32 p.m., J.C. texted RAVENELL, “Here,”
indicating J.C. had arrived at their agreed upon location. One minute later, RAVENELL texted
J.C., “5 mins,” indicating RAVENELL was five minutes away.

cs On February 17, 2013, at 5:29 p.m., RAVENELL texted J.C., “Are u at the
bar yet?” which was a location where they had arranged to meet. One minute later, J.C. texted

RAVENELL, in response, “On my way.”

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d. On March 24, 2013, at 5:18 p.m., RAVENELL texted J.C., “R u there yet?”
referring to a pre-arranged meeting location. Seven minutes later J.C. texted RAVENELL, in

response, “No.” Eleven minutes later, RAWENELL texted J.C., “Leaving Baltimore now.”

RAVENELL Met with J.C. After J.C.’s Arrest to Obtain Information on Narcotics
Proceeds

24. — In April 2013, J.C. was arrested on federal narcotics charges. RAWENELL entered
his appearance to represent J.C. In May or June of 2013, RAVENELL visited J.C. in jail.
RAVENELL asked J.C. to provide him with information on money that was. still
“on the street” or words to that effect. J.C. understood that RAVENELL was asking for
information on outstanding narcotics debts owed to R.B. J.C. wrote the names of all the narcotics
dealers who still owed money to R.B. and the amounts they owed him, which totaled several

hundred thousand dollars, in a notebook that RAVENELL had with him.

RAVENELL Laundered Cash from R.B. Through Individual 1’s Restaurant

2S. In March 2013, RAVENELL took R.B. to a restaurant owned by Individual | as
part of an attempt to persuade R.B. to invest in Individual 1’s restaurant. This investment would
be another way in which R.B. could funnel narcotics proceeds to RAVENELL since RAVENELL
provided financial support to Individual 1.

26. On April 8, 2013, RAVENELL emailed K.R. and stated, “[K.R.], please provide
the attached to [R.B.] right away.” Attached to the email was an investment/lease agreement/letter

of intent for an investment of $150,000 in Individual |’s restaurant.

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27. On May 20, 2013, R.B.’s sister, at R.B.’s direction, wrote a check to Individual 1
in the amount of $9,000. RAVENELL had previously told R.B. to provide the money to
Individual 1, instead of RAVENELL.

28. —_R.B. ultimately declined to invest in the restaurant. RAWENELL told R.B. that
RAVENELL would instead invest some of the cash that R.B. paid to RAVENELL in Individual
I’s restaurant.

29. On June 20, 2013, the agreement RAVENELL previously sent to R.B. was
changed to make RAVENELL the party to the agreement, instead of R.B. The agreement
reflected the fact that $19,000 had already been invested in the restaurant by RAVENELL.

RAVENELL had provided that money, in cash, to Individual |.

False Memorandum of Interview of J.G.

30. R.B. and his co-conspirators used J.G.’°s company to ship large, wholesale
quantities of marijuana from Arizona to various destinations on the East Coast for further
distribution. In April 2013, law enforcement executed searches of co-conspirator’s residences in
Maryland. During these searches, investigators recovered black plastic shipping containers. These
containers had been used to ship 100-pound quantities of marijuana from Arizona to Maryland as
part of the narcotics distribution activities of J.C., J.B., H.B. and R.B.

31. RAVENELL and R.B. discussed that J.G. was a threat to R.B. because he could
provide incriminating information about R.B. and other members of the conspiracy if he were
called as a witness in a proceeding against R.B.

32. On May 3, 2013, a private investigator met with J.G. in Arizona at RAVENELL’s

direction. Prior to the arrival of RAVENELL’s private investigator, and unbeknownst to him,
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J.G. was interviewed by law enforcement and was shown a photographic lineup. During the
interview with law enforcement, J.G. identified R.B. and other co-conspirators and provided
incriminating information about R.B. and his narcotics trafficking organization. RAVENELL’s
private investigator misled J.G. into believing that the investigator was another law enforcement
officer. J.G. reiterated what he had previously told law enforcement about R.B., and told the
private investigator that he had identified R.B. in a photo lineup that was previously shown to him
by law enforcement.

33. A memorandum dated May 5, 2013, and addressed to “Kenneth Ravenell” was
created that falsely documented the private investigator’s interview of J.G. and was maintained by
RAVENELL in his R.B.-related files at The Law Firm. The memorandum stated: “[J.G.] told [a
detective] he could not identify [R.B.]. [A detective] then specifically pointed to a photo of a black
male subject with a scar on his face in one of the photo arrays and asked if [J.G.] could identify
this person. [J.G.] confirmed he could not identify the individual who had a scar on his face in the

photo lineup.” The memorandum contained additional false information.

Attempts to Procure a False Witness Statement from D.W.
34. On August 5, 2013, RAVENELL and S.G. traveled to a detention center where
D.W. was being held. D.W. had trafficked narcotics and laundered money for R.B. and other
members of the narcotics trafficking organization. D.W. had been federally charged with
conspiracy to distribute and possess with intent to distribute marijuana, and his charges were
pending in the District of Maryland. RAVENELL did not ask for permission from D.W.’s lawyer
to meet with D.W. or to discuss issues related to D.W.’s pending federal case. RAWENELL and

S.G. attempted to interview D.W. on August 5, 2013, but he declined to be interviewed.

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35. | Onor about May 29, 2014, RAVENELL sent S.G. to visit D.W at a prison facility
near Houston, Texas. When he met with D.W., S.G. asked D.W. to make a false written statement
that D.W. had not been involved in trafficking narcotics with R.B. D.W. refused to sign a false
statement and told S.G. that he and RAVENELL should contact D.W.’s lawyer. S.G. then

questioned whether D.W. was “snitching,” and D.W. terminated the interview.

A.B. Gave RAVENELL Narcotics Proceeds to Represent L.H.

36. In 2014, A.B., L.H.’s girlfriend at the time, met with RAVENELL at a restaurant
in Washington, D.C., where she gave RAVENELL $21,000 in narcotics proceeds, in cash, and
the two had previously discussed the fact that cash provided by A.B. was narcotics proceeds.

37. A.B. subsequently gave RAVENELL narcotics proceeds, in cash, in the amounts
of $15,000 and $10,000. RAVENELL did not provide receipts to A.B. for these payments. Asa

result, A.B. recorded the payments on the visor of her vehicle as “Rav — 21 15 10.”

RAVENELL Attempted to Collect Narcotics Proceeds for R.B. in Atlanta

38. On July 11,2014, RAVENELL booked a Southwest Airlines flight from Baltimore
to Atlanta, Georgia, for July 12, 2014, with a return flight from Atlanta to Baltimore on the same
day. The purpose of the trip was for RAVENELL to meet with A.G., to discuss narcotics proceeds
that R.B. had previously given A.G.

39. On July 22,2014, RAVENELL visited R.B. in jail and reported that the associate,
with whom RAVENELL had spoken prior to his arrival in Atlanta, failed to show up at the Four
Seasons Hotel, where RAVENELL had arranged to meet him.

18 U.S.C. § 1962(d)

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COUNT TWO
(Conspiracy to Commit Money Laundering)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs 3, 9-15, 17-29 and 36-39 of Count One are hereby realleged and
incorporated by reference herein as though fully set forth in this Count of the Superseding
Indictment.

Ze Beginning at least by August 31, 2009, and continuing through on or about August
15, 2017, in the District of Maryland and elsewhere, the defendant,

KENNETH WENDELL RAVENELL,
did knowingly, intentionally, and unlawfully, combine, conspire, confederate, and agree with one
or more persons known and unknown to the Grand Jury to:

a. conduct and attempt to conduct financial transactions affecting interstate
and foreign commerce, which transactions involved the proceeds of specified unlawful activity,
that is, the felonious distribution of controlled substances punishable under Title 21, United States
Code, Chapter 13, with the intent to promote the carrying on of such specified unlawful activity in
violation of Title 18, United States Code, Section 1956(a)(1)(A)(i);

b. conduct and attempt to conduct financial transactions affecting interstate
and foreign commerce, which transactions involved the proceeds of specified unlawful activity,
that is, the felonious distribution of controlled substances punishable under Title 21, United States
Code, Chapter 13, knowing that the transaction was designed in whole and in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of said specified
unlawful activity, and while conducting and attempting to conduct such financial transactions
knew the property involved in the financial transactions represented the proceeds of some form of

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i); and

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c. engage, attempt to engage, and cause others to engage in monetary
transactions, in and affecting interstate and foreign commerce, in criminally derived property that
was of a value greater than $10,000, and was derived from specified unlawful activity, that is, the
felonious distribution of controlled substances punishable under Title 21, United States Code,
Chapter 13, in violation of 18 U.S.C. § 1957(a).

18 U.S.C. § 1956(h)

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COUNT THREE
(Narcotics Conspiracy)

The Grand Jury for the District of Maryland further charges that:

l, Paragraphs 3 and 9-39 of Count One are hereby realleged and incorporated by
reference herein as though fully set forth in this Count of the Superseding Indictment.

2. Beginning at least by August 31, 2009, and continuing through on or about
August 15, 2017, in the District of Maryland and elsewhere, the defendant,

KENNETH WENDELL RAVENELL,

did knowingly, willfully and unlawfully combine, conspire, confederate and agree with one or
more persons known and unknown to the Grand Jury, to knowingly and intentionally distribute
and possess with intent to distribute one thousand (1000) kilograms or more of a mixture or
substance containing a detectable amount of marijuana, a Schedule I controlled substance, in
violation of 21 U.S.C. § 841(a)(1) and 21 U.S.C. § 841(b)(1)(A)(vii).

21 U.S.C. § 846

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COUNT FOUR
(Conspiracy to Commit Offenses Against the United States)
The Grand Jury for the District of Maryland further charges that:
1. Paragraphs 3-4 and 9-39 of Count One are hereby realleged and incorporated by

reference herein as though fully set forth in this Count of the Superseding Indictment.

THE DEFENDANTS

2. Defendant KENNETH WENDELL RAVENELL was a lawyer admitted to the
Bar of Maryland in 1985.

3. Defendant JOSHUA REINHARDT TREEM was a lawyer admitted to the Bar of
Maryland in 1972.

4, RAVENELL and TREEM practiced law at the same law firm in the 1990s and
early 2000s.

3: Defendant SEAN FRANCIS GORDON was a private investigator.

6. RAVENELL worked with GORDON as part of his association with R.B. and L.H.
Later, TREEM and RAVENELL worked with GORDON pursuant to TREEM’s representation
of RAVENELL.

7. On or about January 21, 2016, TREEM began representing RAVENELL in
connection with a federal criminal investigation conducted by the U.S. Department of Justice and
an investigation by a federal grand jury sitting in Baltimore of RAVENELL. GORDON was also
retained to work with TREEM and RAVENELL in connection with that investigation. TREEM

continued representing RAVENELL through on or about June 18, 2019.

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OBJECT OF THE CONSPIRACY
8. It was the object of the conspiracy to create false records and documents with the
intent to impede, obstruct or influence investigations within the jurisdiction of the U.S. Department
of Justice and to obstruct, influence and impede official proceedings, including grand jury
investigations and federal criminal cases in United States District Court in Baltimore, Maryland,

in order to protect members of the conspiracy.

THE CHARGE
9: Beginning no later than May 5, 2013, and continuing through at least December 11,
2018, in the District of Maryland and elsewhere, the defendants,
KENNETH WENDELL RAVENELL,
JOSHUA REINHARDT TREEM, and
SEAN FRANCIS GORDON,
did unlawfully, voluntarily, intentionally and knowingly conspire, combine, confederate, and
agree with each other, and others known and unknown to the Grand Jury, to commit offenses
against the United States, that is, to:

a. knowingly conceal, cover up, falsify and make false entries in a record and
document with the intent to impede, obstruct and influence the investigation and proper
administration of a matter within the jurisdiction of a department or agency of the United States
and in contemplation of such a matter, namely criminal investigations conducted by the United
States Department of Justice into R.B. and RAVENELL, in violation of 18 U.S.C. § 1519; and

b. corruptly obstruct, influence, or impede any official proceeding, and

attempt to do so, namely a federal grand jury investigation and criminal prosecution of R.B. anda
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federal grand jury investigation and a foreseeable criminal prosecution of RAVENELL, in

violation of 18 U.S.C. § 1512(c)(2).

MEANS AND METHODS OF THE CONSPIRACY

Among the means and methods by which members of the conspiracy pursued their illegal
purposes were the following:

10. RAVENELL obtained access to incarcerated individuals, whom he did not
represent, and dispatched private investigators, including GORDON, to interview incarcerated
individuals and civilian witnesses, so that RAWENELL and others at his direction could attempt
to improperly influence their testimony, attempt to cause them to execute false affidavits and
witness statements which RAVENELL knew to be false, and attempt to cause witnesses to
withhold testimony from official proceedings, namely, a federal grand jury investigation of R.B.
and later criminal case against R.B. in the District of Maryland.

ll. TREEM and GORDON, at RAVENELL’s direction, met with R.B., who they
knew was a potential witness in a federal criminal investigation by the U.S. Department of Justice
and a federal grand jury sitting in Baltimore of RAWENELL and a foreseeable criminal
prosecution of RAVENELL in the United States District Court for the District of Maryland, and
presented R.B. with a document, prepared by RAVENELL, containing false statements
exculpating RAVENELL. Despite the fact that R.B. told TREEM and GORDON that these
statements were false, TREEM and GORDON urged R.B. to sign the document, which he did.

12. RAVENELL, TREEM and GORDON prepared false documents, including an
affidavit on behalf of GORDON that referenced, as an exhibit, the document containing false

exculpatory statements that TREEM and GORDON had urged R.B. to sign, and a letter to a

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United States District Court Judge on behalf of TREEM, relating to their interview of R.B. These
documents were fraudulently prepared to undermine and impeach R.B.’s credibility in the event
he were called by the Government to testify in a criminal trial of RAWENELL and to provide false
evidence of a prior consistent statement by GORDON or TREEM in the event either one were to
be questioned as part of an investigation being conducted by the U.S. Department of Justice of
RAVENELL or called to testify in an official proceeding, including before the grand jury

investigating RAVENELL or a trial of RAWENELL if he were indicted by a federal grand jury.

OVERT ACTS

In furtherance of the conspiracy and to achieve its objects and purposes, members of the
conspiracy committed the following overt acts, among others, in the District of Maryland and
elsewhere:

13. In May 2013, RAVENELL caused the creation of a false witness interview report
of J.G. to protect R.B. as described in paragraphs 30-33 of Count One.

14. On August 5, 2013, RAVENELL and GORDON traveled to a detention center
where D.W. was being held to attempt to meet with D.W. as described in paragraph 34 of Count

One.

15. On or about May 29, 2014, RAVENELL sent S.G. to visit D.W. at a prison

facility near Houston, Texas, as described in paragraph 35 of Count One.

TREEM and GORDON’s Interview of R.B. on September 9, 2017

16. On September 9, 2017, TREEM and GORDON traveled from Baltimore,

Maryland, to Phoenix, Arizona, to meet with R.B. at the Towers Jail, where R.B. was being held

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on state criminal charges. At that time, RAVENELL, TREEM and GORDON knew that
RAVENELL was under investigation by the U.S. Department of Justice and a federal grand jury
sitting in Baltimore and could be charged with federal crimes.

17. RAVENELL, TREEM and GORDON knew R.B. had information about
RAVENELL’s conduct.

18. RAVENELL, TREEM and GORDON knew that R.B. could be a potential
witness in the investigation of RAVENELL being conducted by the U.S. Department of Justice
and the grand jury and in a federal criminal prosecution of RAVENELL. They also knew that
TREEM and GORDON could also be potential witnesses in a trial of RAVENELL because they
could testify about what happened during a meeting with R.B. if R.B. were to testify against
RAVENELL.

19. Early in the meeting, TREEM told R.B., “so not surprising to you [RAVENELL|'s
given us a list of things we've got to ask you,” to which R.B. responded, “Oh, absolutely.” As he
spoke to R.B., TREEM had in front of him a document that contained 53 statements which were,
in effect, false denials about RAVENELL’s involvement in criminal conduct. The document was
titled “K WR’s Combined Notes.” Before visiting R.B., RAWENELL had prepared this list based
on witness statements that had been turned over to R.B.’s lawyer, in R.B.’s criminal case, and that
R.B.’s lawyer, in turn, provided to RAVENELL and TREEM. RAVENELL had written out the
list long-hand and then TREEM caused it to be typed before he left for Arizona.

20. TREEM began questioning R.B. starting with the fourth numbered statement on
the KWR’s Combined Notes, which read, “He told me he was no longer involved in narcotics
activities after his February 2011 arrest.” R.B. and TREEM discussed the topic, at length. In

response to TREEM’s questions, R.B. said RAVENELL “want[ed] to make sure that what | was

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doing was on the up and up and the way I was paying my bills was on the up and up,” and told
TREEM that RAVENELL had “shown up” at an event that R.B. put on, “to see how the money

flowed and how people pay and how much cans of cash we was handling and was the shit really

real,”

21.

TREEM then explained to R.B. what he, TREEM, thought was the focus of the

investigation by the U.S. Department of Justice and the grand jury into RAVENELL:

22.

Okay. Because, you know, what's going on is they think that he, that he
knew that you were paying him with tainted money, with narcotics money
and -- number one. And number two, that you were -- that he was kind of
acting as your -- as the house counsel for your organization. That he was --
you know, like in the "Godfather," he was the consigliere. I'm telling you
that's their view. That's their view. I'm not making this up. And, you know,
that you were running -- or, you know, that he was your bank, you know.

So you were depositing all this money from whatever source it was, whether
it was from the events that you were running or from the narcotics, you were
putting that money into the trust account up there and then you were telling
him where to send it and what to do with it. And to the extent that there was
any legitimate money from the events, it doesn't clean the bad money, it's
all comingled and it's all forfeitable, and [RAWENELL] knew it or should
have known it.

R.B. then asked TREEM to explain what TREEM thought was the basis for the

U.S. Department of Justice and grand jury investigation and TREEM offered the following:

23.

Based upon the fact that they think that LOC was just set up as a front to
hide -- in fact to launder the narcotics money. That my -- and I don't know
enough about it, but I think their theory is that whatever money was actually
made through the LOC events that narcotics money was put into that kitty
and so it would look as if were — LOC would -- the events were cleaning
the narcotics money ... If you sold $100 worth of tickets, you know, you'd
put $300 in because all -- because a lot of it was cash ... And so it would
look as if you actually sold 300 tickets -- $300 worth of tickets and you only
sold 1, but that money goes out and it came from the narcotics.

In response, R.B. said, “Okay. I see where you’re going,” to which TREEM said,

“So that — I’m pretty sure that’s what [the Government’s] theory is.”

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24, TREEM, GORDON and R.B. then discussed at length how RAVENELL tracked
R.B.’s business income and expenses and how money was wired to The Law Firm at R.B.’s
direction.

25. TREEM then asked R.B. if R.B. was “deliberately trying to make sure,” that
RAVENELL did not know that money R.B. was giving RAVENELL was drug money, to which
R.B. responded, “Yeah,” and TREEM then asked, “did you do anything in particular that you can
think of where you just didn’t tell him?” In response, R.B. said, “Actually let me back up ... I
have let me go through a little bit — | should do it this way so I can--” to which TREEM said,
“Yeah, go through what you got.” In response to TREEM’s invitation to “go through what you
got,” R.B. told TREEM, “I know what [RAVENELL] wants, that's no problem, man,” and “He
know who I am, he know what -- he -- we've known each other over two decades,” and “All right.
So I know this formula, that's not a problem, all right. You will leave here with the information
that you came seeking.”

26. TREEM, GORDON and R.B. then had a lengthy discussion about R.B.’s
investment in the MGM Casino, which, according to R.B., was made through Attorney | and
Attorney 2 at The Law Firm, and was managed by RAVENELL because R.B. had signed a power
of attorney giving RAVENELL control over the investment. Early in the discussion about R.B.’s
MGM Casino investment, R.B. told TREEM, “So what I'm telling you is that whatever
[RAVENELL] needs that's fine, that's not a problem. Like we can go through this whole
questioning and then we're going to do the song and dance, that's not a problem, all right, period,”
to which TREEM responded, “All right.”

21 R.B. then expressed the view that RAVENELL could begin giving R.B. money

from R.B..s MGM Casino investment because, “Ain't nobody fucking investigating

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[RAVENELL] no more,” to which GORDON responded, “We wouldn't be here if that was the
case.”

28. GORDON then asked R.B. to explain Attorney | and Attorney 2’s role in the
MGM Casino investment, which R.B. did.

29. TREEM then asked R.B. to explain R.B.’s investment in the MGM Casino, which
R.B. did.

30. After doing so, R.B. asked TREEM, “None of this is going to be turned over to the
government?” TREEM responded, “I don’t mean to laugh, but yeah, none of this is going to be
turned over. This is between you, me, and [GORDON] — you know, and that’s where it’s going
to stay.”

31. TREEM then told R.B., “given what I’ve already heard | suspect if you’re willing
I’m going to want to come back.” R.B. responded, “That’s fine man, I’m good.”

32. R.B. then commented, “But for [RAWENELL] to send you here he absolutely has
to have unequivocal trust in you,” to which TREEM responded, “Well, I think he does and I trust
him.” TREEM then told R.B. a story about the very first criminal trial RAWENELL had, which
was with TREEM. He also amended his earlier statement about where the information R.B. was
sharing would go, telling R.B., “This isn’t going anywhere except maybe, you know, I’m going to
be talking to [RAVENELL] later so I’m going to talk to him about this.” Concerned, R.B. asked,
“Yeah, but on the phone?” TREEM responded, “No, no, ... | will not talk to him about this on
the phone.” TREEM then asked, “Not even on my cell phone?” to which R.B. responded “no,”
and TREEM agreed saying, “I got it, | got it. That’s fine.”

33. TREEM and GORDON and R.B. then had a discussion about RAVENELL’s

laptop computer, which R.B. told them had R.B.’s “financial[s]” on it. After some discussion,

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R.B. said that the laptop computer should be thrown away or his financial information removed
from it. TREEM responded, “Well, I think the problem is it’s under subpoena ... | have some
questions but I will look at it ... Maybe there’s a way to — well, I'll look at it. Ill see — we’ll make
sure it covers what we have.”

34. _R.B. then complained about being forced to take a plea offer in his criminal case.
R.B. then told TREEM, “I just gave up. I just say fuck it. At least | know with this [RAVENELL]
is protected and he knows what’s coming at him and he know how to deal with it. And if
[RAVENELL] is free my investment is good and that’s the way I’m looking at it.” TREEM then
asked R.B., “So you need to know if your investment is good?” to which R.B. responded, “Yeah,
I mean, I got a phone call from [Person A] that tells me my investment is good and that if I stood
strong that a few million dollars was coming my way.”

35. In response, TREEM asked, “and that call was from who?” to which R.B.
responded, “[Person A].”. TREEM then commented, “Oh, [Person A]. I know that’s [Person A].
Okay. All right.”

36. Later, R.B. told TREEM that in addition to his investment in the MGM Casino,
R.B.’s escrow account at The Law Firm still had $9,000 in it and that R.B. was thinking of asking
his lawyer to “draw up some paperwork and send to [The Law Firm] and demand my
motherfucking money.” TREEM told R.B. that TREEM “should stay out of that,” but that
TREEM would “make sure that [RAVENELL] (indiscernible).” R.B. then asked TREEM, “But,
| mean, you can play in the back, though, and help me out,” to which TREEM responded,
“Absolutely, | mean, yeah, for sure, | know that. Yeah, I will.” GORDON asked R.B. how he

“{ got] that figure,” to which R.B. responded that The Law Firm’s attorney told R.B.’s lawyer. R.B.

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asked TREEM to “reach out” to The Law Firm’s lawyer and TREEM told R.B., “I'll ask her. |
will see her next week.”

37. Eventually, the conversation returned to the KWR’s Combined Notes. R.B. asked
TREEM, “You want me to just read it man, and answer every question?” TREEM agreed to that
approach telling R.B., “Absolutely, that's probably easier.” R.B. proceeded to go through many
but not all the items on the KWR’s Combined Notes, reading a numbered statement and adopting
it using, in almost all cases, a single word like “yes,” “no,” or “correct.” On three occasions,
TREEM asked follow-up questions to R.B.’s one word answers. Neither TREEM nor GORDON
recorded which statements R.B. adopted.

38. After R.B. finished with the KWR’s Combined Notes, the conversation returned to
R.B.’s MGM Casino investment. R.B. asked TREEM if he could “bluff” Attorney | and Attorney
2 into paying R.B. what he was owed on the deal by threatening to go public with R.B.’s
involvement in it. TREEM responded, “Okay. All right. But, yeah, no, except I don’t want -- the
only people | want to know whom | want to know that I’m here today is you, [GORDON], me
and [RAVENELL].”

39. | TREEM then promised to do a number of things for R.B. to help him recoup his
investment in the MGM Casino and any remaining money in his escrow account at The Law Firm:

I don't know, but the first thing that comes to mind is -- and I'll talk to
[RAVENELL] on Monday and we'll sit down and kind of go over this, but
just what comes to mind immediately is that if there is a power of attorney
out there in which you have given other people authority to do something
on your behalf, you can revoke that, it's not irrevocable. And so then the
power is yours and then it's -- at least you have control over what you want
to do in terms of how to get your money back, you don't have to go through
anyone else ... So that's kind of number one, because then if then -- if then
there is someone else, another attorney that you want to get involved in this

to go knock on [Attorney 1’s] door and say, you know, that money that
you're holding one, the escrow account, you know, that's a bar grievance

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issue. They have no right to that money, that's number one. But number two,
where's his money?

40. TREEM continued, “But, you know -- but the other thing because, you want to get
-- |mean, [RAVENELL] is holding that [power of] attorney for you, you don't want him to have
it ... | mean, that's not good for you, that's not [good for] him ... So I'm going to talk to him. I'm
going to talk to him about that and find out, you know, what — if there's a document out there I'd
like to see it. He needs to get off of that.”

41. TREEM next promised to reach out to a lawyer representing The Law Firm to try
and enlist her in helping R.B.:

But, you know, I'll see what I can do about talking to [Attorney for The Law
Firm]. The problem is [Attorney for The Law Firm] works as counsel for
the firm in this case but nothing else, you know. If the firm has got some
deal on the side and this -- that's not unrelated to this particular piece of --
you know, this case involving you and the investigation of [RAVENELL]
and whatever, that's the limit of her representation of this firm. My guess is,
knowing her fairly well, she's going to say it ain't none of my business and
[Attorney |] and [Attorney 2] are fucking [R.B.] out of his money that's
their problem and I'm not retained for that.

42. __ In response, R.B. asked TREEM, “So then how do I go about getting my money,”
and TREEM told him, “Then I think what you do is you find someone who is going to make it
their problem,” referring to a lawyer.

43. |TREEM then promised to think about whether he knew “anybody who can maybe
pick this up,” referring to finding a lawyer for R.B.

44. R.B. asked TREEM and GORDON, “I mean how much motherfucking money
does [Attorney |] want to which TREEM responded, “He wants a lot,” and GORDON stated,

“Yeah, he wants it all,” and TREEM then said “He wants it all. This stuff he got from [] isn’t

enough.”

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45. Later in the conversation, R.B. asked GORDON and TREEM whether
RAVENELL had obtained an interest in the MGM Casino, to which GORDON replied, “I don’t
know,” and TREEM replied, “I don’t think he’s carrying any interests.” R.B. responded, “So it’s
just [Attorney 1] and them?” to which TREEM replied, “I think so. | don’t think he’s got anything
to do with them anymore.”

46. | TREEM then volunteered that he could go to the press to help R.B. recoup his
MGM Casino investment. TREEM told R.B., “So you know, throwing [Attorney 1] in the briar
patch—I can deal with that. That’s [Attorney 1’s] money [now] you know, [but] | know people at
the press, you know. I know the television people to call, | know the people I can go talk to, you
know, I can spin it my way, I’m not worried about any of that.”

47. R.B. asked in response, “So [Attorney 1] has just fucked me?” TREEM said,
“you're just another fuckee. A fuckee in a long line of fuckees, you know, [Attorney |] doesn’t
care.”

48. Before they left, TREEM took back the KWR’s Combined Notes from R.B. There
were no check marks on it when he took it back and R.B. had not signed it.

49. During the course of the interview, TREEM took handwritten notes including that

a. R.B. knew that RAVENELL had a ledger on his computer, that
RAVENELL was taking care of R.B.’s investments, and that RAVENELL maintained R.B.’s

finances on his laptop.

b. “Feds do not have it,” referring to the laptop computer, and also, “info
delete.”

c. “told [R.B.] not to have conversation with anyone else.”

d. “KWR - record of all [R.B.’s] financial records on KWR’s laptop.”

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TREEM and GORDON’s Interview of R.B. on September 10, 2017

50. On September 10, 2017, TREEM and GORDON returned to the Towers Jail at
approximately 9:16 a.m., to continue meeting with R.B.

51. TREEM told R.B. that he “got a text from [RAVENELL] and we’re going to meet
tomorrow at 4.”

52. At the outset of the meeting, R.B. asked if he could speak to GORDON privately.
TREEM briefly left the room. R.B. asked GORDON, “I can talk freely in front of [TREEM] all
the way?” GORDON responded, “Yeah. Yeah. You know, this is all privileged info.” R.B.
responded, “All right, cool. All right, he can come back in.”

53. Thereafter, TREEM reentered the room.

54. TREEM began by handing R.B. the KWR’s Combined Notes that they had gone
over the previous day. Now, the document had hand-written check marks next to each of the
numbered items including ones R.B. had not adopted. .

53: TREEM then told R.B., “Okay. So we went over all this stuff yesterday, I’m not
going to bother with that today. Can you sign this for me, just to show [RAVENELL] that you
went over it?” R.B. did not, however, sign the document at this time. Instead, R.B. said to TREEM
and GORDON, “There’s a couple of things that | want to go through.”

56. Before going any further, R.B. asked TREEM, “I want to make sure everything |
discuss with you is kept—* and understanding what R.B. meant without even letting him finish,
TREEM said, “It is ... Yeah, I mean, it’s easy — 1 mean, not easy on me, it’s easy to do that, but |
have to do that.” TREEM told R.B., “This is my work product, this conversation ... The notes

are my work product ... They are privileged. They’re mine. No one is getting them.

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[RAVENELL]’s not getting this.” In response, R.B. told TREEM, “That makes me a lot more
comfortable.”

57. | TREEM then repeated what he said on the previous day about helping R.B. recover
his MGM Casino investment and escrowed funds at The Law Firm.

But having said that, just so you — we talked about this yesterday but I just
want to make sure, | mean, I'm going to -- with your permission I'm going
to tell [RAWVENELL] what you're interested in, what you need and I'm
prepared to talk to [R.B.’s then-Attorney] about that too, all right. But I'm
[RAVENELL]'s lawyer, you know, and so my obligations in terms of
representations are to him. I will -- | told you yesterday that I'll find out
what I can about the investments and make sure -- ... Right, right, and the
power of attorney and your escrowed money, I'll find out what I can about
that. And I will either get that to you directly or probably through [R.B.’s
then-Attorney] is probably the better way to do it.

58. R.B. then told TREEM and GORDON that R.B. would never cooperate with the
Government. R.B. then told them that RAVENELL had a “blueprint of my financials,” that R.B.
“can’t get to those financials without [RAVENELL]” and that RAVENELL was “in a unique
position as far as my money is concerned because without him I can't get my money from [Attorney

1] and them. So it's really -- he's in the power seat.” TREEM responded, “Except that he’s not in

the power seat until this cloud disappears.”
59. R.B. then told TREEM and GORDON,

All right, so here's what I'm saying to you. And I want to go deep into this,
okay, because I want you to clearly understand my position, all right?... My
only position here is my money, that's it. [RAWENELL] can get anything
he want from me that's not a problem. It's been that way since I've been
incarcerated. | made sure [R.B.’s previous Attorney] — make sure [R.B.’s
previous Attorney] took care of (indiscernible) situation, all of that shit, you
know what I'm saying to you. So that's not a problem. My concern is my
money.

Now the information I gave you yesterday — is the information if called to
testify | will testify to on the stand.

In response TREEM said, “] understand.”

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60. R.B. then told TREEM,

Here’s the real situation, alright. The real situation is this: [RAWENELL]
knew my whole business operation, period, from A to Z, from nuts [to
bolts]. [RAWENELL] knew that LOC was used to launder money.
[RAVENELL] knew I was still involved in narcotics. I paid
[RAVENELL] millions of dollars in cash. [RAWENELL] shared all that
money between [Attorney | and Attorney 2], now [Attorney | and Attorney
2] is riding off in the sunset and he got a headache and nobody is making
sure | get my money.

[Attorney | and Attorney 2] is aware of this whole situation.
[RAVENELL] don’t make no move without them knowing as I’ve been
told by him that they’re partners and they need to know everything that’s
involved.

61. TREEM interrupted R.B. and asked him, “You mean partners now?” R.B.

responded:

Were. I’m talking about back when I was in their firm. I used to deliver
book bags of cash to that office. [J.C.] delivered millions of dollars to
[RAVENELL]. So what I’m saying is that I’m going to be the good soldier
like I’m supposed to be, but | need [RAVENELL] to put his nuts on the
line for me and make sure | get my fucking money. Like I’ve told you, I
got two kids in college. I got one that’s coming home that doesn’t want to
go to college. I’m not asking for no handout. I’m just asking for my money.
How the fuck is [RAVENELL] going to let [Attorney |] and them run off
with every fucking thing and fuck him like that? That’s like crazy to me
that [RAVENELL’s| allowing them to do that. It’s one thing for me to take
a dump because | am who | am and | am what I am, but how is he going to
let them run off with everything.

62. R.B. then told TREEM, “Now [RAVENELL] keeps a chart of all my investments,
all the players that's involved, the how's and the where's. He needs to make sure all of that vanish
off his laptop.” TREEM responded:

Well, he can't do that. I can't have him I can't advise him to delete stuff off

his laptop. I can't do that. I told you, [R.B.], yesterday there's a subpoena
out for that stuff. | can't delete that and he can't either.

63. R.B. then told TREEM that R.B. had spoken to [Person A] and that “[Person A]

related to me that my investments were safe, just chill, wait until the fog clear. And that

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[RAVENELL] was willing to throw me a few m's to stay the way I am. | mean, I was going to
stay the way | am regardless, but you put it on the table | want it. My sole and only goal in this is
to make sure my kids get their money.” TREEM responded, “Okay. | want to make sure what
you're telling me, you're telling me that [Person A] told you that [RAVENELL] is willing to throw
you a few m's — to take care of your kids?” TREEM asked R.B. when he had spoken to Person
A, and R.B. said it was approximately two years ago when they were both at the Supermax jail.

64. TREEM wrote down on his notepad, “KWR [RAVENELL] knows all about drug
dealing, LOC and laundering. [R.B.] delivered millions in cash, so did [J.C.].”,. TREEM further
wrote a note to himself, “JRT — different from yesterday.” TREEM underlined this notation four
times.

65. TREEM also noted, “assuming its on laptop” referring to R.B.’s financial records
and “wants [] with investments to vanish” and “JRT — won’t happen, can’t happen.” TREEM
noted what R.B. told him about [Person A] writing, “[Person A] says investment safe. KWR
[RAVENELL] willing to throw him a few ‘ms’ to take care of *kids’” and that R.B. had talked to
Person A at Supermax approximately 2 years ago.

66. The conversation then returned to R.B.’s MGM Casino investment. TREEM
subsequently had the following exchange with R.B.:

R.B.: So [Attorney 1 and Attorney 2] just want to run off in the sunset
with our fucking money?

TREEM: Well, you’re banking on—assuming that—I have no reason to doubt
you, [R.B.], but you know if they know what—given what you say
[Attorney | and Attorney 2] know, you know, they’re going to let
[RAVENELL] take the fall for them. Because what you’re telling
me, so I make sure I understand this, you’re telling me that
[RAVENELL] knew that you were using LOC to launder your
narcotics money and that [Attorney | and Attorney 2] knew it too.

R.B.: Absolutely.

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TREEM: And that, you know, cash—balances of cash were delivered to them
at the firm.

R.B.: Absolutely.

TREEM: And there was really no question about, you know, where this was
all coming from --

R.B.: Absolutely.
TREEM: -- at least commingled.
R.B.: Right.

TREEM: And so I’m giving you credit for that being accurate and truthful. If
that’s so, | mean [Attorney | and Attorney 2] aren’t on the receiving
end of anything yet so they’re very happy to let [RAVENELL] take
the fall.

R.B.: Motherfuckers.

TREEM: Because for them to be in trouble, [RAWENELL’s] got to be in
trouble. And so he’s the one who is on — whose neck is out there.
And to the extent that [Attorney | and Attorney 2] have some
exposure right now they’re very happy to have [RAVENELL] be
the target because either way they win. If [RAWENELL] is charged
and is convicted, you know, then the question is at that point, you
know, how long does all that take and maybe the statute of
limitations has run on everything. And if—you know if—otherwise,
you know, you’re the only out maybe at that point is [RAWVENELL]
makes some deal which sends him (indiscernible) they are and
[Attorney | and Attorney 2] have all the defenses that they need,
look at this he’s trying to roll over to save his ass. So—but, you
know, if what you’re telling me is—which today is somewhat
different than what you said yesterday.

67. Referencing the KWR’s Combined Notes, which R.B. still had not signed, R.B.
told TREEM, “I mean, this—I’m ready—this is for the [witness] stand, okay.” TREEM
responded,

Well, okay. But, you know, I can’t, | can’t—I don’t know where this is all
going ... And I don’t know whether, you know, assuming [RAVENELL]
is charged, | have no idea sitting here today what I’m going to need or who

I’m going to need to defend to put on the witness stand to defend
[RAVENELL].

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68. TREEM next told R.B.,

All right. I can’t put you on the witness stand if you’re going to lie, and if
| know you’re going to lie I can’t do that, because that get me in a lot of
trouble if that comes out.

69. TREEM then told R.B. that he thought they should stop the interview and
that TREEM “need[ed] to go kind of sit in my office and close the door and kind of play
all this out,” because “I got to think about this.” TREEM continued:

But, you know, I wrote down what you said and I take you at your word that
at no point will you become [the Government’s] bitch, | got that and that's
fine. But how -- what your value to me is in terms of my representation of
[RAVENELL] | got to think about that. And I don't want to do anything
that's going to screw up what you want to do in terms of trying to get the
money that's owed to you back in your pocket for the benefit of your kids.
I understand that's your goal and I get that. And, you know, if that doesn't
conflict with anything I got to do for my client I'm happy to -- regardless,
I'm happy to do what I told you I would do, all right. I will see what I can
do about finding out where -- what exists out there and I will let [R.B.’s
then-Attorney] know all that. But in terms of what we said here yesterday
and today I'm not telling him anything.

70. TREEM took notes on this portion of the conversation. TREEM wrote “[R.B.]
wants to go after [The Law Firm] [] atty?” TREEM also noted, “JRT > said to stop” and that,
“saying [] different from yesterday.”” TREEM further wrote in his notes “[R.B.] prepared to testify
about [what] he [RAVENELL] needs [him] to.”. TREEM wrote, “can’t call [R.B.] if you are
going to lie.” TREEM also noted, “[Attorney |] and [Attorney 2] walking away — knows what
KWR [RAVENELL] doing with [R.B.].”. TREEM then wrote, “no they don’t” and “KWR
[RAVENELL] being used by them” and “can’t do anything until investigation is over.”

71. TREEM then repeated that TREEM was not going to tell R.B.’s lawyer about
what they had talked about because doing so would not “help” RAVENELL.

72. TREEM again told R.B. that he would help R.B. find a lawyer to recoup his

investment from Attorney | and Attorney 2. In his handwritten notes, TREEM recorded, “atty to

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go after [Attorney |] & [Attorney 2] independent of KWR” and “that if K WR is person who knows
then he can’t do anything [] until after his investigation is over.”

73. As the interview concluded, R.B. asked TREEM, “Can I have a conversation with
[GORDON] real quick?” TREEM said, “Yeah, of course you can have a conversation with
[GORDON]. Can you do me a favor?” R.B. responded, “Yes, sir.”

74. Before he left the room TREEM asked, “Can you sign that for me that you saw
it?” TREEM pointed at the KWR’s Combined Notes, which R.B. still had not signed. TREEM
then left the room.

75. R.B. said to GORDON, “I should never have had that conversation with
[TREEM].” GORDON said, “[TREEM] wasn’t going to put you on the stand anyway. It’s more
— you know, the situation is this isn’t—I’ll go back—this isn’t a situation of like calling you as a
witness.” R.B. responded, “Okay.”

76. GORDON said, “This is a situation of—.” and R.B. said, “covering his bases?”
GORDON said, “Talk to everyone, find out what their status is, you know. Just like you sent me
to Houston to talk to people, this is kind of the same version.” GORDON’s statement about
“Houston” was in reference to GORDON going to meet with D.W. in an attempt to obtain a false
witness statement from him, which R.B., GORDON, and RAVENELL knew to be false. R.B.
said, “Okay.”

77. GORDON said, “Not like they’re going to put — they can’t put you on [the witness
stand] anyway, attorney/client privilege and all this other shit, okay. So it’s not that kind of
situation, okay.”

78. R.B. said, “I’m like, yo, I’m willing to testify to all of this” as R.B. picked up and

pointed at the KWR’s Combined Notes. GORDON responded, “I know.” R.B. asked, “so he just

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want me to sign saying I seen it?” GORDON responded, “Yeah, you saw it.” R.B. signed the
front page of the two-sided document and later signed the second page of the document.

79. R.B. then asked GORDON, “How the fuck do I get my money? Listen, tell
[RAVENELL] to go get some of that motherfucking money that he got buried and give me my
fucking money and get me out of the way.” GORDON responded, “I can on Tuesday.”

80. TREEM reentered the room and said to R.B., “Good to see you, man. Take care
of yourself.” R.B. said, “Any help you can give me | would really appreciate it.” TREEM said,
“Yeah, I hear you. Alright.” TREEM picked up the KWR’s Combined Notes from the table.
TREEM said, “Maybe there may be a way | can kind of finesse this.” Before leaving with
GORDON and the document, TREEM told R.B., “We'll be back in touch ... you take care of

yourself.” TREEM then gave R.B. a “high-five.” The meeting concluded.

False GORDON Affidavit

81. | On September 11, 2017, TREEM had a conference call with RAVENELL. On
that same day, TREEM drafted an affidavit for GORDON regarding “K. RAVENELL’s
Combined Notes.”

82. On September 13, 2017, TREEM and RAVENELL had a conference call
regarding the affidavit for GORDON.

83. On September 14, 2017, GORDON arrived at TREEM’s law firm at
approximately 10:10 a.m. to execute the affidavit. The affidavit contained nine numbered
paragraphs. The first five (5) paragraphs asserted the following;

I, Sean Gordon, hereby declare and affirm under penalties of perjury:
1. [am over the age of eighteen (18) and am competent to testify to the

facts and matters contained in this Affidavit, and do so with personal
knowledge.
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2. On September 9, 2017, I accompanied Joshua R. Treem, attorney for
Kenneth W. Ravenell, to interview [R.B.| at Towers Jail in Phoenix,
Arizona on September 9, 2017 and September 10, 2017.

3. It was my understanding that [R.B.] had previously consented to the
meeting and had directed his attorney, [R.B.’s Attorney 2], to advise
Joshua R. Treem.

4. At some point prior to the interview, Mr. Treem had received a
document entitled “K WR’s Combined Notes” which were hand written
notes of Mr. Ravenell which for clarity and understanding had been
typed by Mr. Treem’s assistant.

5. On September 9, 2017, we met with [R.B.] at Towers Jail beginning at
10:30 a.m. local time. During the course of the interview, [R.B.] was
given the document attached as Exhibit | to review.

84. — In paragraph number six (6) TREEM wrote and GORDON affirmed the following

false statement:

6. [R.B.] read each of the entries, numbered 1-53, out loud and
acknowledged the truthfulness and accuracy of each one separately and
individually.

In truth and fact, R.B. did not read “each of the entries, numbered 1-53, out loud” and
“acknowledge[] the truthfulness and accuracy of each one separately and individually.” R.B. never
read or acknowledged the truthfulness of the following entries:

23. He did not pay me to report law enforcement activities to him. He

simply paid me to represent him.
24. I did not bring him a list of people who owed him drug money from

Castle

25. He never asked me to get a list of people who owed him drug money
from Castle.

26. He knew that | would never agree to get a list of people who owed him
drug money from Castle or anyone else.

85. In paragraph number seven (7), TREEM wrote and GORDON affirmed the
following false statement:

7. Atno time did [R.B.] express any hesitancy, disapproval, or disagreement
with the statements or make any changes.

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In truth and fact, R.B. did express “hesitancy, disapproval [and] disagreement” with the statements
contained in the KWR’s Combined Notes. As described in detail in paragraphs 59-80 of this
Count.
86. In paragraph eight (8), TREEM wrote and GORDON affirmed the following false
statement:
8. The [check] markings on the Exhibit were made by Mr. Treem
subsequent to [R.B.] acknowledging the accuracy of the entries, to
record that [R.B.] had read all the entries. All of the other handwriting
was made by Mr. Treem prior to [R.B.] reading and acknowledging the
accuracy of entries | through 53.
In truth and fact, R.B. acknowledged the accuracy of only some of the entries on the first day of
the interview as described in paragraphs 37 and 84 of this Count but denied their accuracy on the
second day of the interview as described in detail in paragraphs 59-80 of this Count.
87. In paragraph nine (9), TREEM wrote and GORDON affirmed the following false
statement:
9. We met with [R.B.] again on September 10, 2017. During our visit we
asked him to review Exhibit | and, if he had no changes to make, to sign
and date the statement, which he did in my presence.
In truth and fact, neither TREEM nor GORDON asked R.B. “to review Exhibit 1,” which was
the KWR’s Combined Notes, and, “if he had no changes to make, to sign and date the statement.”
Further, R.B. told both TREEM and GORDON that the statements in the KWR’s Combined
Notes were untrue during an extended conversation that occurred before R.B. signed the document,
as described in detail in paragraphs 59-80 of this Count.

88. On September 14, 2017, GORDON signed the false affidavit, which was thereafter

maintained in TREEM’s files at the law firm where TREEM was a partner at that time.

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False Letter to a U.S. District Court Judge

89. On January 18, 2018, TREEM began drafting a letter to the United States District
Court Judge who presided over R.B.’s criminal case in the United States District Court for the
District of Maryland (the “U.S. District Judge”). The U.S. District Judge to whom the letter was
addressed was actively presiding over related cases involving R.B.’s co-conspirators. TREEM
drafted the letter for 1.5 hours on January 18, 2018. That same day, TREEM and GORDON
exchanged emails and TREEM and RAVENELL communicated by phone.

90. On January 19, 2018, RAVENELL met with TREEM.

91. On January 29, 2018, TREEM and RAVENELL communicated by phone.

92. On January 30, 2018, TREEM further edited the letter to the U.S. District Judge.

93. On February 6, 2018, an employee of TREEM’s firm had a “conference” with
TREEM “re letter to Judge [];” and then that employee “revise[d] letter based off latest edits.”

94. On February 7, 2018, an employee of TREEM’s firm had a “Conference” with
TREEM “re letter to to [sic.] Judge []” and then “[made] revisions to letter.”

95. On February 8, 2018, an employee of TREEM’s firm had a “Conference” with
TREEM “re letter to Judge []; and then made “edits to letter” and then had a “telephone call to S.
Gordon.”

96. On February 8, 2018, TREEM further edited the false letter for one hour and had
a telephone call with RAVENELL.

97. On February 8, 2018, at 2:38 p.m., TREEM called R.B.’s then-Attorney and left a
voicemail. In the voicemail, TREEM stated that he was aware R.B. had entered a guilty plea to

state charges and wanted to know “what the circumstances were or weren’t.”

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98. On February 9, 2018, TREEM caused to be emailed an ex parte letter dated
February 8, 2018, to the U.S. District Judge that included false and misleading representations.
TREEM chose to send the letter on his own initiative, and it was not in response to any order of
the Court.

99. In the first paragraph of the letter, TREEM wrote, “For approximately the past 18
months I have been representing [RAVENELL], who has been under investigation by the United
States Attorney’s Office (“USAO”) ... 1am writing in that capacity and as an officer to this Court,
to bring to your attention recent actions by [R.B.] that I believe constitute criminal conduct.”

100. In the last paragraph of the letter, TREEM wrote, “I have no knowledge whether
R.B. is currently or may become a government witness|.]” TREEM also stated, “[RAVENELL]
believes a record needs to be made of these events regardless of the consequences, should he be
charged and should [R.B.] appear as a government witness. As his counsel I concur.”

101. In the fourth paragraph of the letter, in reference to the meeting TREEM and
GORDON had with R.B. on September 9, 2017, TREEM made the following false statement:

We presented [R.B.] with a document we had prepared with a number of
statements, and asked [R.B.] to review and to acknowledge the accuracy or
inaccuracy of each. He indicated he wanted to consider the request
overnight.
In truth and fact, [R.B.] did not ask to review the document overnight, as TREEM knew from the
notes he took during the first day of the interview. TREEM started to question R.B. about the
statements in the KWR’s Combined Notes approximately 10 minutes into their meeting and
TREEM, GORDON and R.B. proceeded to have a lengthy discussion about the KWR’s
Combined Notes. As summarized above, in truth and fact:

a. TREEM asked R.B. if, after R.B.’s arrest in 2011, RAVENELL knew that

R.B. was still selling narcotics;

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b. R.B. told TREEM and GORDON that RAVENELL attended events R.B.
sponsored;

c. TREEM told R.B. that the Government’s theory of prosecution of
RAVENELL was that RAVENELL knew R.B. was paying him with narcotics money and using

LOC Marketing to launder narcotics money;

d. R.B. told TREEM that R.B. knew that RAVENELL wanted R.B. to adopt
the exculpatory statements contained in the KWR’s Combined Notes and that R.B. was willing to
do that;

e. Ultimately, R.B. read out loud many but not all of the 53 items on the
KWR’s Combined Notes and adopted some of them, almost always, with a single word like
“correct” or “yes or “no”;

f. As R.B. was reading through the items, TREEM stopped him to ask follow-
up questions on at least three occasions.

106. In the fifth paragraph, TREEM then falsely stated:

The following day when we returned to continue our visit, [R.B.] stated that

the statements were accurate. He acknowledged the accuracy of the

individual statements and signed the document.

In truth and fact, on the second day of the interview, R.B. did not state that “the statements were
accurate” and did not “acknowledge the accuracy of the statements.”

a. As quoted above, R.B. told TREEM and GORDON that RAVENELL
knew R.B. was selling narcotics and paying RAVENELL with narcotics proceeds.

b. As summarized above, TREEM’s own handwritten notes from the

interview reflect that TREEM recognized what R.B. was saying on the second day of the interview

contradicted what he had said on the first day.

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c, TREEM himself acknowledged that R.B. would be “lying” if TREEM
called him as a witness in a trial of RAVENELL and asked him to make the statements contained
in the KWR’s Combined Notes.

107. In that same paragraph, TREEM also falsely stated,

[R.B.] then began to complain about not having access to money that he

claimed was owed to him that he wanted for his family. [R.B.] asserted that

some was being held by [Attorney | and Attorney 2], and some was an

interest in a business venture. He wanted [RAVENELL] to get the money

for him. At that point, concerned that these statements sounded

extortionate, we reminded [R.B.] that we represented [RAVENELL] and if

he had any complaints about money he believed he was owed, he would

need to raise those with his counsel, not us. We ended the meeting and

returned to Baltimore later that day.

In truth and fact, TREEM and GORDON discussed R.B.’s investment in the MGM Casino at
length on the first day of the interview. Far from treating R.B.’s statements about the investment
and the remaining money in his escrow account as extortionate, TREEM and GORDON actively
engaged in a discussion about these topics with R.B., including, but not limited to, the following:

a. TREEM asked R.B. to outline the specifics of his investment;

b. TREEM promised to ask The Law Firm’s lawyer about money left in
R.B.’s escrow account at The Law Firm when TREEM saw her the following week:

c. TREEM questioned R.B. at length about a power of attorney R.B. said he
signed giving RAVENELL control over R.B.’s investments and told R.B. he was going to help
R.B. revoke or change the power of attorney to remove RAVENELL from it:

d. TREEM promised to think about potential lawyers that R.B. could hire to
sue The Law Firm; and

ei TREEM promised to go to journalists he knew in an effort to embarrass

Attorney | and Attorney 2.
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108. Approximately ten months later, on December 11, 2018, TREEM called the
attorney of record for R.B. at that time and left a voicemail. In the voicemail, TREEM said he
was looking to find R.B. because “[TREEM] wanted to try to reach out to [R.B.].”. TREEM
further stated he was calling to ask for the attorney’s permission to meet with R.B. These attempts
to meet with R.B. further indicate that TREEM did not believe R.B. was trying to extort
RAVENELL.

18 U.S.C. § 371

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COUNT FIVE
(Obstructing an Official Proceeding)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs 9-39 of Count One and Paragraphs 4, 6 and 10-108 of Count Four are
hereby realleged and incorporated by reference herein as though fully set forth in this Count of the
Superseding Indictment.

2. Beginning no later than September 9, 2017, and continuing through at least
December 11, 2018, in the District of Maryland and elsewhere, the defendants,

KENNETH WENDELL RAVENELL,

JOSHUA REINHARDT TREEM, and

SEAN FRANCIS GORDON,

did corruptly attempt to obstruct and impede a federal grand jury investigation of RAVENELL,
an official proceeding, and a foreseeable criminal prosecution of RAVENELL in the United States
District Court for the District of Maryland, by creating false and fictitious records of TREEM’s
and GORDON ’s meeting with, R.B. These documents, a set of false exculpatory statements titled
“KWR’s Combined Notes,” which TREEM and GORDON encouraged R.B. to sign, a false
affidavit dated September 14, 2017, signed by GORDON, and a letter to a United States District
Court Judge in the District of Maryland dated February 8, 2018, signed by TREEM, were all
fraudulently prepared to be used to undermine and impeach R.B.’s credibility if he were to be
called in an official proceeding to give testimony against RAVENELL, and to provide false
evidence of a prior consistent statement by GORDON and TREEM in the event either one of

them were to be called to testify in an official proceeding.

18 U.S.C. § 1512(c)(2)
18 U.S.C. §2

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COUNT SIX
(Falsification of Record)

The Grand Jury for the District of Maryland further charges that:
l. Paragraphs 16 through 88 of Count Four are hereby realleged and incorporated by
reference herein as though fully set forth in this Count of the Superseding Indictment.
2. Beginning no later than September 9, 2017, and continuing through at least
September 14, 2017, in the District of Maryland and elsewhere, the defendants,
KENNETH WENDELL RAVENELL,
JOSHUA REINHARDT TREEM, and
SEAN FRANCIS GORDON,
did knowingly conceal, cover up, falsify and make false entries in an affidavit signed by
GORDON on September 14, 2017, a record and document, with the intent to impede, obstruct and
influence the investigation and proper administration of a federal criminal investigation of
RAVENELL, a matter that the defendants knew was within the jurisdiction of the United States
Department of Justice, a department and agency of the United States, and in contemplation of a
federal criminal prosecution of RAVENELL, a matter the defendants knew was within the
jurisdiction of the United States Department of Justice, a department and agency of the United
States.

18 U.S.C. § 1519
18 U.S.C. §2

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COUNT SEVEN
(Falsification of Record)

The Grand Jury for the District of Maryland further charges that:

li. Paragraphs 16-80 and 89-108 of Count Four are hereby realleged and incorporated
by reference herein as though fully set forth in this Count of the Superseding Indictment.

Z. Between at the latest September 9, 2017, and continuing through at least February
8, 2018, in the District of Maryland and elsewhere, the defendants,

KENNETH WENDELL RAVENELL, and
JOSHUA REINHARDT TREEM

did knowingly conceal, cover up, falsify and make false entries in a letter to a United States District
Court Judge dated February 8, 2018, and signed by TREEM, a record and document, with the
intent to impede, obstruct and influence the investigation and proper administration of a federal
criminal investigation of RAVENELL, a matter that the defendants knew was within the
jurisdiction of the United States Department of Justice, a department and agency of the United
States, and in contemplation of a federal criminal prosecution of RAVENELL, a matter the
defendants knew was within the jurisdiction of the United States Department of Justice, a

department and agency of the United States.

18 U.S.C. § 1519
18 U.S.C. §2

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FORFEITURE

The Grand Jury for the District of Maryland further charges that:

I. Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, notice is hereby
given to the Defendant that the United States will seek forfeiture as part of any sentence in
accordance with Title 18, United States Code, Section 1963 and Title 21, United States Code,
Section 853, in the event of the Defendant’s convictions under Counts One through Three of this
Superseding Indictment.

RICO Forfeiture

2. Pursuant to Title 18, United States Code, Section 1963(a)(1), (2), and (3), upon

conviction of the offense alleged in Count One, the Defendant,

KENNETH WENDELL RAVENELL,

shall forfeit to the United States of America, (i) any interest the Defendant acquired or maintained
as a result of the commission of the offense alleged in Count One of the Superseding Indictment;
(ii) any interest in, security of, claim against, or property or contractual right of any kind affording
a source of influence over, any enterprise which the defendant has established, operated,
controlled, conducted, or participated in the conduct of, in committing the offense alleged in Count
Six of the Superseding Indictment; and (iii) any property, constituting or derived from, any
proceeds which the Defendant obtained, directly and indirectly, from the racketeering activity
alleged in Count Six of this Superseding Indictment.

3. The property to be forfeited includes, but is not limited to, the following:

a. any property constituting, or derived from, any proceeds obtained, directly

or indirectly, as a result of such violation; and

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Money Laundering Forfeiture
4. Pursuant to Title 18, United States Code, Section 982(a)(1), upon conviction of the
offense alleged in Count Two, the Defendant,
KENNETH WENDELL RAVENELL,
shall forfeit to the United States of America, all property real or personal, involved in such offense,
and all property traceable to such property, that each of them, respectively, obtained.
5. The property to be forfeited includes, but is not limited to, the following:
a. a sum of money equal to the value of any property involved in the money
laundering offense for which each Defendant is convicted;
b. all property constituting the subject matter of the money laundering offense
for which each Defendant has been convicted; and
c. all property used to commit or facilitate the commission of the money
laundering offense for which each Defendant has been convicted.
Narcotics Forfeiture
6. Pursuant to Title 21, United States Code, Section 853(a), upon conviction of an
offense in violation of the Controlled Substances Act, as alleged in Count Three, the Defendant,
KENNETH WENDELL RAVENELL,
shall forfeit to the United States of America, all property real or personal, involved in such offense,
and all property traceable to such property, that each of them, respectively, obtained.
7. The property to be forfeited includes, but is not limited to, the following:
d. any property constituting, or derived from, any proceeds obtained, directly

or indirectly, as a result of such violation; and

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e. any property used, or intended to be used, in any manner or part, to commit,
or facilitate the commission of, such violation.
Substitute Assets
8. Pursuant to Title 18, United States Code, Section 1963(m) and Title 21, United
States Code, Section 853(p), if any of the property described above as being subject to forfeiture,

as a result of any act or omission by the Defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

Cc. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been comingled with other property which cannot be subdivided

without difficulty,
it is the intent of the United States to seek forfeiture of any other property of the Defendant up to
the value of the property charged with forfeiture in the paragraphs above.
21 U.S.C. § 853
18 U.S.C. § 982(a)(1)

18 U.S.C. § 1963
28 U.S.C. § 2461(c)

Robert K. Hur ” e
United States Attorney

A TRUE BILL:

SIGNATURE REDACTED ae. a/rr[Peee)

Foreperson

 

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